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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION


 ROTHSCHILD BROADCAST DISTRIBUTION                     CASE NO. 6:15-CV-233
 SYSTEMS, LLC,

                Plaintiff,
                                                       JURY TRIAL DEMANDED
        v.

 VUDU, INC.,

                Defendant.


                                STIPULATION OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(A), Plaintiff Rothschild Broadcast Distribution Systems,

 LLC hereby voluntarily dismisses with prejudice its claims asserting infringement of the patent-

 in-suit in the above captioned action, and all parent and continuation patents and patent

 applications of the patent-in-suit, against Defendant VUDU, Inc. Each party is to bear its own

 attorneys’ fees and costs.


 Respectfully submitted,

 Dated: June 24, 2015

 /s/ Charles Ainsworth                                /s/ Bijal V. Vakil with permission by Charles
 Charles Ainsworth (TX Bar No. 00783521)              Ainsworth
 Robert Christopher Bunt (TX Bar No. 00787165)        Bijal V. Vakil (CA Bar No. 192878)
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                                                      VUDU, Inc.
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                                 CERTIFICATE OF SERVICE
        I hereby certify that counsel of record who are deemed to have consented to electronic

 service are being served on 24th day of June, 2015, with a copy of this document via the Court's

 CM/ECF system per Local Rule CV-5(a)(3). Any other counsel of record will be served by First

 Class U.S. Mail on this same date.


                                                /s/Charles Ainsworth
                                                Charles Ainsworth




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